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 9 Interim Class Counsel

10 [Additional Counsel Appear on Signature Page]

11

12
                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
14

15   In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR-VKD
     Litigation,
16                                                   PLAINTIFFS’ ADMINISTRATIVE
                                                     MOTION TO CONSIDER WHETHER
17   This Document relates to: all actions.          ANOTHER PARTY’S MATERIALS
                                                     SHOULD BE SEALED
18
                                                     [Civil L.R. 7-11, 79-5(f)]
19

20                                                   Judge:     Hon. Virginia K. DeMarchi
                                                     Date:      June 18, 2024
21                                                   Time:      10:00 a.m.
                                                     Courtroom: 2, Fifth Floor
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                                                                         Case No. 4:21-cv-02155-YGR-VKD
                                         PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
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 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiffs hereby respectfully submit this
 3 Administrative Motion to Consider Whether Another Party’s (Defendant Google’s) Materials Should

 4 Be Sealed. Plaintiffs have redacted and filed conditionally under seal portions of Plaintiffs’ Reply in

 5 Support of Motion for Contempt and Spoliation Sanctions re: Named Plaintiff Data (the “Reply”),

 6 because these filings quote from or summarize documents, information, or testimony that Google has

 7 designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” pursuant to the protective

 8 order (ECF No. 59) and that this Court has previously sealed in some instances. See May 16, 2023

 9 Order re Account Identifiers and Further Production of Named Plaintiffs’ Data (“May 16 Order”)

10 (ECF Nos. 510, 524).

11          The specific portions of the Reply that Plaintiffs respectfully request be conditionally redacted
12 or sealed at this time, subject to a motion by Google, are:

13                 Highlighted portions on pages 1, 2, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13.
14          An unsealed and unredacted version of the Reply is lodged under seal with the Declaration of
15 Anne K. Davis filed herewith. Plaintiffs, though not the Designating Party, also submit a proposed

16 order herewith.

17 II.      ARGUMENT
18          Materials and documents may be filed conditionally under seal pursuant to Civil Local Rule
19 79-5 when the document, or portions thereof, are privileged, protectable as a trade secret, or otherwise

20 entitled to protection under the law, if the request minimizes the information sought to be sealed from

21 public view and is and narrowly tailored. See L.R. 79-5(a), (c)(3). Plaintiffs’ request seeks to

22 conditionally seal language in the Reply that Google has designated “Confidential” or “Highly

23 Confidential – Attorneys’ Eyes Only” pursuant to the protective order.

24          This information is relevant to the parties’ dispute, and the request to seal cannot be more
25 narrowly drawn by plaintiffs without the consent of Google. Plaintiffs seek this relief in good faith in

26 order to comply with Google’s designations and the protective order.

27          Civil L.R. 79-5(f)(3) imposes additional requirements on the “Designating Party,” Defendant
28 Google. Plaintiffs do not agree that the conditionally-redacted information be permanently sealed
                                                        1                  Case No. 4:21-cv-02155-YGR-VKD
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 1 from public view, other than that plaintiffs wish to comply with the protective order and this Court’s

 2 prior guidance.

 3 III.     NOTICE OF LODGING

 4          Plaintiffs will lodge with the Court, and serve on counsel for Defendant Google, a complete

 5 copy of the unredacted and unsealed document in accordance with Civil L.R. 5-1(e).

 6 IV.      CONCLUSION

 7          Plaintiffs, for the reasons set forth herein, hereby move the Court to consider whether those

 8 portions of the filing described herein should remain conditionally under seal and in redacted form

 9 pursuant to Google’s designation.

10

11 Dated: May 31, 2024                                   Respectfully submitted,

12
                                                         PRITZKER LEVINE LLP
13
                                                         By: /s/ Jonathan K. Levine
14                                                       Elizabeth C. Pritzker (Cal. Bar No. 146267)
                                                         Jonathan K. Levine (Cal. Bar No. 220289)
15                                                       Bethany Caracuzzo (Cal. Bar No. 190687)
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                                                         BLEICHMAR FONTI & AULD LLP
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24                                                       By: /s/ Anne K. Davis
                                                         Lesley Weaver (SBN 191305)
25                                                       Anne K. Davis (SBN 267909)
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24                                              Plaintiffs’ Executive Committee

25

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                                              3                  Case No. 4:21-cv-02155-YGR-VKD
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 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, Anne K. Davis, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 31st day of May, 2024, at Pacifica, California.

 5                                                        /s/ Anne K. Davis
                                                          Anne K. Davis
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                                                       4                  Case No. 4:21-cv-02155-YGR-VKD
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 1                                   CERTIFICATE OF SERVICE

 2         I, Anne K. Davis, hereby certify that on May 31, 2024, I electronically filed the foregoing

 3 document with the Clerk of the United States District Court for the Northern District of California

 4 using the CM/ECF system, which will send electronic notification to all counsel of record. I also

 5 caused a copy of the under seal filing to be delivered to counsel for Defendant Google LLC via

 6 electronic mail.

 7                                                             /s/ Anne K. Davis
                                                               Anne K. Davis
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                                                      5                  Case No. 4:21-cv-02155-YGR-VKD
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